              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
            CRIMINAL CASE NO. 2:12-cr-00033-MR-DLH-1


UNITED STATES OF AMERICA )
                            )
         vs.                )                     ORDER
                            )
GLENN ASHE.                 )
___________________________ )

      THIS MATTER is before the Court on the Defendant’s pro se letter,

which the Court construes as a motion seeking the release of personal

property and the appointment of counsel [Doc. 196].

      In his motion, the Defendant seeks “the release of [his] personal

property one 86 Chevy truck.” [Doc. 196 at 1]. He further requests the

appointment of counsel to represent in his “civil matter.” [Id.].

      It is unclear from the motion whether the subject property was seized

by federal or state authorities.    A review of the docket reveals that no

forfeiture order has been entered in this matter, and thus, the Defendant’s

truck has not been seized by federal authorities pursuant to any order of

forfeiture. To the extent that the truck may have been subject to a federal

administrative forfeiture, the Defendant has not alleged that such

administrative process violated any statutory or due process requirements.




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Further, to the extent that the truck may have been seized by state

authorities, the Court is without jurisdiction to address his claim.

      Finally, the Defendant’s request for the appointment of counsel to

represent in an unidentified “civil matter” must be denied. The Defendant

does not identify any federal civil proceeding that is pending against him.

To the extent that there may be a state civil matter pending, the Court is

without authority to appoint counsel in such a matter.

      For the foregoing reasons, IT IS, THEREFORE, ORDERED that the

Defendant’s motion [Doc. 196] is DENIED.

      IT IS SO ORDERED.               Signed: July 28, 2014




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